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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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Case 6:09-bk-10049-BB   Doc 1 Filed 01/05/09 Entered 01/05/09 10:49:00   Desc
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